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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                  (State)                                                                                           ☐ Check if this is an
Case number (if known):                                         Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                     04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                                 LT Smile Corporation


                                                   N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                     XX-XXXXXXX


4. Debtor’s address                         Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                            1090 Northcase Parkway SE
                                            Number            Street                                    Number         Street

                                            Suite 150
                                                                                                        P.O. Box

                                            Marietta                        GA         30067
                                            City                            State      Zip Code         City                         State      Zip Code


                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Cobb County
                                            County                                                      Number         Street




                                                                                                        City                         State      Zip Code




5. Debtor’s website (URL)

6. Type of debtor                           ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            ☐ Partnership (excluding LLP)

                                            ☐ Other. Specify:


      Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                     Case 20-33923 Document 1 Filed in TXSB on 08/03/20 Page 2 of 20
Debtor            LT Smile Corporation                                             Case number (if known)
           Name



7.   Describe debtor’s business          A. Check One:
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         5611

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

      A debtor who is a “small           ☐ Chapter 9
      business debtor” must              ☒ Chapter 11. Check all that apply:
      check the first sub-box. A
      debtor as defined in §                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      1182(1) who elects to                                  aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      proceed under subchapter                               affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      V of chapter 11 (whether or                            balance sheet, statement of operations, cash-flow statement, and federal income tax
                                                             return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      not the debtor is a “small                             1116(1)(B).
      business debtor”) must
      check the second sub-box.                            ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                             liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                             and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                             selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist,
                                                             follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12
9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                           When                       Case number
     separate list.                                                                         MM/DD/YYYY




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           LT Smile Corporation                                                   Case number (if known)
              Name



    10. Are any bankruptcy cases            ☒ No
        pending or being filed by a         ☒ Yes.                                                                       Relationship     Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District     Southern District of Texas
       List all cases. If more than 1,                                                                                   When             8/2/2020
       attach a separate list.                         Case number, if known _______________________                                      MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

    12. Does the debtor own or have
        possession of any real             ☒     No1
        property or personal property      ☐     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        that needs immediate
                                                     Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                              Number        Street



                                                                                              City                                State        Zip Code

                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone


                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                         ☒       1,000-5,000                     ☐     25,001-50,000
        creditors2                        ☐     50-99                        ☐       5,001-10,000                    ☐     50,001-100,000
                                          ☐     100-199                      ☐       10,001-25,000                   ☐     More than 100,000
                                          ☐     200-999

1
       The Debtors engage in the production of minerals used in the industrials and energy industries. Certain Debtors possess or operate certain real
       property where reclamation, water treatment, and similar efforts associated with these production operations are presently underway. The Debtors
       note that the term “imminent and identifiable hazard” is not defined in this form; however, the Debtors do not believe they own or possess any real or
       personal property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety.
2
       The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.
       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
                    Case 20-33923 Document 1 Filed in TXSB on 08/03/20 Page 4 of 20
Debtor           LT Smile Corporation                                                    Case number (if known)
          Name



15. Estimated assets                 ☐       $0-$50,000                 ☐        $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000           ☐        $10,000,001-$50 million            ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐        $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☒        $100,000,001-$500 million          ☐    More than $50 billion

16. Estimated liabilities            ☐       $0-$50,000                  ☐       $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐       $10,000,001-$50 million            ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐       $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☒       $100,000,001-$500 million          ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on          08/02/2020
                                                               MM/ DD / YYYY

                                      
                                               /s/ Scott Mell                                                     Scott Mell
                                              Signature of authorized representative of debtor     Printed name

                                              Title    Authorized Signatory


                                      
18. Signature of attorney                      /s/ Matthew D. Cavenaugh                                      Date        08/02/2020
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              JACKSON WALKER L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                  Street
                                              Houston                                                               Texas             77010
                                              City                                                                  State               ZIP Code
                                              (713) 752 -4200                                                       mcavenaugh@jw.com
                                              Contact phone                                                             Email address
                                              24062656                                                   Texas
                                              Bar number                                            State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:
                                                                 ,
 United States Bankruptcy Court for the:
                    Southern District of Texas
                               (State)                                                    ☐ Check if this is an
 Case number (if                                                                              amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Covia Holdings Corporation.

                   Benevis Corp.

                   Benevis Holding Corp.

                   Benevis Affiliates, LLC

                   Benevis, LLC

                   Benevis Informatics, LLC




    26444366v.1
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    LT SMILE CORPORATION,                                          )      Case No. 20-___________(___)
                                                                   )
                                 Debtor.                           )
                                                                   )

                                         LIST OF EQUITY SECURITY HOLDERS1

             Debtor                      Equity Holders                  Address of Equity Holder               Percentage of
                                                                                                                 Equity Held
                                                                       787 Seventh Avenue
                                          New LT Smile
    LT Smile Corporation                                               49th Floor                                     76%
                                          Holdings, LLC
                                                                       New York, New York 10019
                                                                       787 Seventh Avenue
                                    New LT Smile Holdings
    LT Smile Corporation                                               49th Floor                                     24%
                                           II, LLC
                                                                       New York, New York 10019




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
       Procedure. All equity positions listed indicate the record holder of such equity as of the date of commencement of the chapter
       11 case.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 LT SMILE CORPORATION,                                )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

             New LT Smile Holdings, LLC                                          76%
            New LT Smile Holdings II, LLC                                        24%
                 Case 20-33923 Document 1 Filed in TXSB on 08/03/20 Page 8 of 20



    Fill in this information to identify the case and this filing:

   Debtor Name          LT SMILE CORPORATION
   United States Bankruptcy Court for the:                                   Southern District of Texas
                                                                                             (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                     List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Scott Mell
                                        08/02/2020
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Scott Mell
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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Debtor name Benevis Corp.

UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                  12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                    Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                             claim is
mailing address, including zip               email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                            (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                 trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction        Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         for value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


1   Henry Schein                                                                 Trade Payable                                                                 $3,671,336.72
    P.O. Box 371952
    Pittsburgh, PA 15250-7952




2   Elkin Note                                                                   Trade Payable                                                                 $1,762,467.00
    22 Lyndon Pl
    Mellville, NY 11747




3   Dell Financial Services LLC              Abhilash Bandari                    Trade Payable                                                                   $218,798.25
    P.O. Box 6549                            Email: Abhilash.Bandari@Dell.com
    Carol Stream, IL 60197-6549




4   Littlejohn & Co., LLC                                                        Trade Payable                                                                   $187,500.00
    8 Soung Shore Dr, Ste 303
    Greenwich, CT 06830




5   Tailwind Capital                         Tel: 212- 271-3800 Ext. 0000        Trade Payable                                                                   $171,511.37
    Attn: Syed Mohsin
    485 Lexington Ave
    New York, NY 10017



6   Fortyfour, LLC                                                               Trade Payable                                                                   $166,835.40
    44 Russell St NE
    Atlanta, GA 30317




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 1
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Debtor name Benevis Corp.                                                                             Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


7   Look Listen Creative, LLC              Tel: 404- 861-0530 Ext. 0000        Trade Payable                                                                   $151,657.54
    1737 Ellsworth Ind Blvd NW, Ste B-1
    Atlanta, GA 30318




8   CIT                                                                        Trade Payable                                                                   $135,847.42
    21146 Network Pl
    Chicago, IL 60673-1211




9   Veristor Systems, Inc                                                      Trade Payable                                                                   $127,655.00
    4850 River Green Pkwy
    Duluth, GA 30096




10 CDW                                     Tel: 800- 800-4239 Ext. 0000        Trade Payable                                                                   $120,477.24
   P.O. Box 75723                          Email: candeba@cdw.com
   Chicago, IL 60675-5723




11 Braxtel Communications                  Tel: 800- 370-8353 Ext. 0000        Trade Payable                                                                   $102,331.04
   99 Washington St
   Melrose, MA 02176




12 Medicor Imaging                                                             Trade Payable                                                                    $97,150.00
   1927 South Tryon St, Ste 200            Tel: 704-332-5532
   Charlotte, NC 28203




13 A/Coe Communications                                                        Trade Payable                                                                    $88,996.12
   695 Littleton Rd
   Parsippany, NJ 07054




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 2
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Debtor name Benevis Corp.                                                                             Case No. (If known)

                                                                (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


14 Tri-North Builders Inc                                                      Trade Payable                                                                    $73,732.08
   2625 Research Park Dr
   Fitchburg, WI 53711




15 Ariete International, Inc               Tel: 770-446-5757                   Trade Payable                                                                    $72,623.53
   1710 Cumberland Point Dr SE, Ste 16
   Marietta, GA 30067




16 Home Media LLC                                                              Trade Payable                                                                    $68,612.50
   1122 Oberlin Rd
   Raleigh, NC 27605




17 Marchex Inc                                                                 Trade Payable                                                                    $68,500.00
   520 Pike St, Ste 2000
   Seattle, WA 98101




18 MSG Consulting, Inc                                                         Trade Payable                                                                    $64,648.63
   411 Hackensack Ave, 5th Fl
   Hackensack, NJ 07601




19 Snowcloud Partners LLC                                                      Trade Payable                                                                    $62,500.00
   645 Old Ranch Rd
   Park City, UT 84098




20 Catamaran Resort Hotel & Spa                                                Trade Payable                                                                    $62,124.25
   Attn: Accounts Receivable
   3999 Mission Blvd
   San Diego, CA 92109




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 3
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Debtor name Benevis Corp.                                                                              Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                             claim is
mailing address, including zip              email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


21 ADP                                      Tel: 843- 667-1836 Ext. 0000        Trade Payable                                                                    $60,847.39
   P.O. Box 842875                          Email: Johnny.Soto@ADP.com
   Boston, MA 02284-2875




22 Ivision, Inc                                                                 Trade Payable                                                                    $60,655.75
   1430 W Peachtree St NW, Ste 425
   Atlanta, GA 30309




23 Responsive Service & Maintenance         Tel: 985- 893-8105 Ext. 0000        Trade Payable                                                                    $59,027.77
   Co.
   P.O. Box 29
   Covington, LA 70434



24 The Maintenance Company                  Tel: 800- 309-8857                  Trade Payable                                                                    $51,079.45
   8286 Cleveland Ave NW
   North Canton, OH 44720




25 Elite Facility Services LLC                                                  Trade Payable                                                                    $48,727.13
   5221 St Augustine Rd
   Jacksonville, FL 32207




26 Glidewell Laboratories                   Tel: 800-854-7256                   Trade Payable                                                                    $47,460.95
   4141 Macarthur Blvd                      Email:
   Newport Beach, CA 92660                  Angela.Wright@Glidewelldental.Com




27 RDS Solutions, LLC                       Tel: 888- 473-7435 Ext. 0000        Trade Payable                                                                    $43,814.33
   99 Grayrock Rd, Ste 206
   Clinton, NJ 08809




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 4
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Debtor name Benevis Corp.                                                                              Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                             claim is
mailing address, including zip              email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


28 Staples Business Advantage               Tel: 800- 944-6819 Ext. 0000        Trade Payable                                                                    $41,171.60
   P.O.Box 405386                           Email: Ileana.Lopez@Staples.com
   Dept Atl
   Atlanta, GA 30384-5386



29 Cornerstone OnDemand Inc                                                     Trade Payable                                                                    $38,400.00
   Dept Ch19590
   Palatinee, IL 60055-9590




30 Linkedin Corporation                                                         Trade Payable                                                                    $36,070.83
   62228 Collections Center Dr
   Chicago, IL 60693-0622




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